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                 IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

IN RE:                                    §              Case No. 22-60043
                                          §
FREE SPEECH SYSTEMS, LLC,                 §              Chapter 11 (Subchapter V)
                                          §
       Debtor.                            §

                       STIPULATION AND AGREED ORDER

       The above-captioned debtor and debtor-in-possession (the Debtor) and Neil

Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and Marcel Fontaine

(the Texas Plaintiffs) and David Wheeler, Francine Wheeler, Jacqueline Barden, Mark

Barden, Nicole Hockley, Ian Hockley, Jennifer Hensel, Donna Soto, Carlee Soto Parisi,

Carlos M. Soto, Jillian Soto-Marino, William Aldenberg, William Sherlach, and Robert

Parker (the Connecticut Plaintiffs) (together the Sandy Hook Families) hereby enter into

this stipulation and agreed order (Stipulation) as follows:

       WHEREAS, on July 29, 2022 (the Petition Date), the Debtor filed a voluntary

petition for relief under subchapter v of chapter 11 of title 11 of the United States Code in

the United States Bankruptcy Court for the Southern District of Texas (the Bankruptcy

Court).

       WHEREAS, on July 29, 2022, the Debtor filed its Emergency Motion for an

Interim and Final Orders (I) Authorizing the Use of Cash Collateral Pursuant to Sections

105, 361, and 363 of the Bankruptcy Code and Federal Rule of Bankruptcy Procedure

4001(B) and (II) Granting Adequate Protection to the Pre-Petition Secured Lender

(the Cash Collateral Motion) [Dkt. 6].

       WHEREAS, on August 2, 2022, the Sandy Hook Families filed their Objection to

Debtor’s Emergency Motion for an Interim and Final Orders (I) Authorizing the Use of



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Cash Collateral Pursuant to Sections 105, 361, and 363 of the Bankruptcy Code and

Federal Rule of Bankruptcy Procedure 4001(B) and (II) Granting Adequate Protection to

the Pre-Petition Secured Lender [Dkt. 27].

       WHERAS, on August 5, 2022, the Court entered the Interim Order Authorizing

Debtor’s Use of Cash Collateral and Providing Partial Adequate Protection (the Interim

Order) [Dkt. 41].

       WHEREAS, on August 11, 2022, the Debtor filed its Emergency Motion to Amend

Interim Order Authorizing the Use of Cash Collateral [Dkt. 55].

       WHEREAS, on August 12, 2022, the Connecticut Plaintiffs filed their Objection to

Debtor’s Emergency Motion to Amend Interim Order Authorizing the Use of Cash

Collateral [Dkt. 56].

       WHEREAS, on August 12, 2022, the Texas Plaintiffs filed their Joinder to the

Connecticut Plaintiffs’ Objection to Debtor’s Emergency Motion to Amend Interim Order

Authorizing the Use of Cash Collateral [Dkt. 57].

       WHEREAS, on August 12, 2022, the Court entered the Order Modifying Interim

Order Authorizing the Use of Cash Collateral and Providing Partial Adequate Protection

[Dkt. 64].

       WHEREAS, prior to the Petition Date, the Connecticut Plaintiffs commenced

state-court actions against the Debtor styled Lafferty, et al. v. Jones, et al., Case No. X06-

UWY-CV-XX-XXXXXXX-S, in the Superior Court of Connecticut, Judicial District of

Waterbury; Sherlach v. Jones, et al., Case No. X06-UWY-CV-XX-XXXXXXX-S, in the

Superior Court of Connecticut, Judicial District of Waterbury; and Sherlach, et al. v.

Jones, et al., Case No. X06-UWY-CV-18-60464386-S, in the Superior Court of

Connecticut, Judicial District of Waterbury.



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      WHEREAS, on July 31, 2022, the Connecticut Plaintiffs filed their Emergency

Motion for Relief from the Automatic Stay (the Emergency Motion) [Dkt. 15].

      WHEREAS, on August 17, 2022, the Debtor filed its Response to Emergency

Motion for Relief from the Automatic Stay [Dkt. 78].

      WHEREAS, a hearing on the Cash Collateral Motion and the Emergency Motion is

set for August 24, 2022 at 10 a.m.

      WHEREAS, the deadline to file exhibit and witness lists pursuant to LR-9013-2 is

August 22, 2022 at 12:00 p.m.

      WHEREAS, the Parties are in discussions to reach a resolution on both the Cash

Collateral Motion and the Emergency Motion.

      NOW, THEREFORE, IT IS STIPULATED BY THE PARTIES AND, UPON

APPROVAL BY THE BANKRUTPCY COURT, ORDERED THAT:

      1.       The deadline to file an exhibit and witness list for the hearing on the

Emergency Motion and the Cash Collateral Motion is extended to August 23, 2022 at

12:00 p.m.


Signed:
                                        Christopher Lopez
                                        United States Bankruptcy Judge




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STIPULATED AND AGREED ON AUGUST 22, 2022 BY AND AMONG:

THE CONNECTICUT PLAINTIFFS

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THE TEXAS PLAINTIFFS


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